Case 1:15-cr-00633-KMW Document 112

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA
-against
TARAMATIE PERSAUD,
Defendant.
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KIMBA M. WOOD, District Judge:

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ORDER
15 CR 633 (KMW)

The Warden at FCI Danbury is hereby requested to consider Ms. Persaud’s medical

condition, and to inform the Court regarding when she will receive the requested treatment.

SO ORDERED.

Dated: New York, New York
January 12, 2021

utr vn. rv

 

KIMBA M. WOOD
UNITED STATES DISTRICT JUDGE
